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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

DAVID BOYD,                    §
     Plaintiff,                §
                               §
v.                             §                      CIVIL ACTION NO. 5:17-cv-00123
                               §
NATIONWIDE PROPERTY & CASUALTY §
INSURANCE COMPANY and          §
RYAN CURTIS,                   §
     Defendants.               §

                                   NOTICE OF REMOVAL

       Defendants Nationwide Property & Casualty Insurance Company (“Nationwide”) and

Ryan Curtis (collectively, “Defendants”), through undersigned counsel and pursuant to 28 U.S.C.

§§ 1332, 1441 and 1446, file this Notice of Removal of the lawsuit captioned David Boyd v.

Nationwide Property and Casualty Insurance Company and Ryan Curtis; Cause No.

2016CI22171, in the 285th Judicial District of Bexar County, Texas.

                                             I.
                                        BACKGROUND

       1.      Plaintiff David Boyd initiated the present action by filing his Original Petition in

Cause No. Cause No. 2016CI22171 in the 285th Judicial District of Bexar County, Texas, on

December 30, 2016 (the “State Court Action”). See Plaintiff’s Original Petition, attached as

Exhibit A.

       2.      Defendants appeared and answered on February 17, 2017, asserting a general

denial to the claims and allegations made in Plaintiff’s Original Petition. See Defendants’ Original

Answer, attached as Exhibit B.
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        3.      Pursuant to 28 USC § 1446(a) all a copy of all process, pleadings, and orders served

upon Defendants in the State Court Action are incorporated in Exhibit A. Pursuant to Local Rule

81, a fully copy of the state court file has been requested and will be filed upon receipt.

        4.      Pursuant to 28 U.S.C. § 1446(d), promptly after filing this Notice of Removal,

Defendants will give written notice of the removal to Plaintiff through his attorney of record, and

to the clerk of the 285th Judicial District Court of Bexar County, Texas.

        5.      Pursuant to 28 USC §§ 1446(b)(1) and 1446(c)(1), this Notice of Removal has been

timely filed within 30 days of service on Defendants of Plaintiff’s Original Petition and less than

one year after the commencement of this action.

                                               II.
                                          JURISDICTION

        6.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1332, and the matter

is removable to this Court pursuant to 28 U.S.C. § 1441(a) because there is complete diversity of

citizenship between the properly joined parties and the amount in controversy exceeds $75,000

exclusive of interest and costs.

A.      Diversity of Parties

        7.      Plaintiff is domiciled in Bexar County, Texas. See Exhibit A, ¶ 2. Pursuant to 28

U.S.C. § 1332(a), therefore, Plaintiff is a citizen of the State of Texas.

        8.      Defendant Nationwide Property & Casualty Insurance Company is organized

under the laws of Ohio and maintains its principal place of business in Ohio. Pursuant to 28 U.S.C. §

1332(c)(1), therefore, Nationwide is a citizen of the States of Ohio.




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         9.       Defendant Ryan Curtis is domiciled in Mt. Holly, North Carolina. 1 Pursuant to 28

U.S.C. § 1332(a), therefore, Curtis is a citizen of the State of North Carolina.

         10.      Accordingly, there is complete diversity between the parties pursuant to 28 U.S.C. §

1332(a).

B.       Amount in Controversy

         11.      Plaintiff’s Original Petition states that Plaintiff seeks monetary relief “between

$200,000 and $1,000,000.” See Exhibit A, ¶ 6. The threshold for diversity jurisdiction, $75,000, is

therefore met by the allegations of Plaintiff’s Original Petition.

         12.      Plaintiff further seeks compensation for (1) actual damages, (2) treble damages, (3)

18% penalty interest attorney’s fees, (4) mental anguish damages, (6) pre and post-judgment interest,

and (7) attorney’s fees. See Exhibit A, ¶¶ 48-52. Plaintiff has alleged that Defendants’ conduct

was wrongful and done knowingly, entitling him to a trebling of actual damages under Texas

Insurance Code Chapter 541. See Exhibit A, ¶ 50; Tex. Ins. Code sections 541.002 & 541.152.

Penalties, exemplary damages, and attorneys’ fees are included as part of the amount in

controversy. 2

         13.      The amount in controversy plainly exceeds $75,000, exclusive of interest and

costs. See Exhibit A. Accordingly, the amount in controversy requirement of 28 U.S.C. § 1332(b)

is satisfied.




1
     In his petition, Plaintiff incorrectly alleged that Curtis resided in Polk County, Iowa. See Exhibit A, ¶ 4.
     Regardless, Plaintiff has alleged that, and Curtis is in fact not, a citizen of the State of Texas such that
     diversity requirements are met for purposes of removal.
2
     See H&D Tire & Automotive-Hardware, Inc. v. Pitney Bowes Inc., 227 F.3d 326, 330 (5th Cir. 2000); see also
     St. Paul Reinsurance Co. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998).




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                                             III.
                                         CONCLUSION

       14.     Removal of this action under 28 U.S.C. § 1441(a) is proper as the district courts of

the United States have original jurisdiction over the matter pursuant to 28 U.S.C. § 1332, and as all

requirements for removal under 28 U.S.C. § 1446 have been met.

       15.     WHEREFORE, Defendants Nationwide Property & Casualty Insurance Company

and Ryan Curtis hereby provide notice that this action is duly removed.

                                              Respectfully submitted,

                                              /s/ Patrick M. Kemp
                                              Patrick M. Kemp
                                              Texas Bar No. 24043751
                                              pkemp@smsm.com
                                              Robert G. Wall
                                              Texas Bar No. 24072411
                                              rwall@smsm.com
                                              Lauren L. Burgess
                                              Texas Bar No. 24082751
                                              lburgess@smsm.com
                                              Segal McCambridge Singer & Mahoney
                                              100 Congress Avenue, Suite 800
                                              Austin, Texas 78701
                                              (512) 476-7834
                                              (512) 476-7832 - Facsimile

                                              ATTORNEYS FOR DEFENDANTS
                                              NATIONWIDE PROPERTY & CASUALTY
                                              INSURANCE COMPANY and RYAN CURTIS




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                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served upon the
following counsel of record via certified mail return receipt requested on this 17th day of
February, 2017:

       Ryan K. Haun                                               9414 7266 9904 2061 9248 01
       D. Douglas Mena
       Haun Mena, PLLC
       3006 Brazos Street
       Houston, Texas 77006
       ryan@haunmena.com
       doug@haunmena.com

                                            /s/ Patrick M. Kemp
                                            Patrick M. Kemp




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